 Case 2:19-cr-00118-HCM-RJK Document 1 Filed 07/10/19 Page 1 of 2 PageID# 1
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                  IN THE UNITED STATES DISTRICT COURT FOR THH
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                                                                     MCHFOLKi VA

                             EASTERN DISTRICT OF VIRGINIA

                                       Norfolk Division


UNITED STATES OF AMERICA


            V.

                                                    Criminal No.2:19cr
                                                                    |  [5
FORREST SEWER PUMPING
SERVICES,INC.                                       Clean Water Act
                                                    33 U.S.C.§ 1319(c)(2)
                 Defendant


                                CRIMINAL INFORMATION
                                           (Felony)

                                          Count One


       THE UNITED STATES ATTORNEY CHARGES THAT:

       From in and around 2014 through in or about July 21,2016, the exact dates being

unknown, within the Eastern District of Virginia, and elsewhere, defendant, FORREST

SEWER PUMP SERVICES,INC.,knowingly introduced, and caused the introduction of

trucked and hauled pollutants {i.e., wastewater and grease) into the Hampton Roads Sanitation

District sewage treatment system, a publicly owned treatment works(POTW),via undesignated

discharge points, in violation of the Clean Water Act National Pretreatment Standards specific

prohibition under 40 C.F.R § 403.5(b)(8) against introducing trucked or hauled pollutants at

discharge points that were not designated as such by the POTW.

       (In violation of the Clean Water Act, 33 U.S.C. §§ 1317(d) and 1319(c)(2).)
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